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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,
                                                                        ORDER
              v.                                                        14-cr-79

JEFFREY COLEMAN,

                     Defendant.



       The Court (Hon. Richard J. Arcara) referred this case to United States Magistrate

Judge H. Kenneth Schroeder, Jr., for all pretrial matters, including those that a

magistrate judge may hear and determine, pursuant to 28 U.S.C. § 636(b)(1)(A), and

those that a magistrate judge may hear and thereafter file a report and

recommendation, pursuant to § 636(b)(1)(B). See Text Order of Referral dated May 1,

2014. This case has since been transferred from Judge Arcara to the undersigned.

       Defendant Jeffrey Coleman (“defendant”) is charged, along with four other

individuals, with conspiracy to possess with intent to distribute, and to distribute, heroin;

maintaining a drug premises; and possession of 100 grams or more of heroin with intent

to distribute. See Docket Item 16.

       On September 22, 2014, the defendant moved for, among other things, an order

suppressing statements attributed to him as well as evidence seized after a search of

his luggage. See Docket Item 26; see also Docket Item 33. The government filed a

response to the motion. See Docket Item 31. On May 26, 2015, Magistrate Judge

Schroeder held a suppression hearing and heard testimony from three government

witnesses: DEA Task Force Agent Cory Higgins, DEA Special Agent Jonathon Sullivan,
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and DEA Task Force Agent Glenn Zawierucha. See Docket Item 63. The defendant

did not offer any evidence at the hearing. See id. After the parties filed post-hearing

memoranda, see Docket Items 63 & 64, Magistrate Judge Schroeder issued a Report,

Recommendation and Order, dated November 9, 2015, that recommended denying the

defendant’s motion to suppress. See Docket Item 66.

       The parties did not file any objections to the Report, Recommendation and

Order, and the time to do so has expired.

       A district court may accept, reject, or modify, in whole or in part, the findings or

recommendation of a magistrate judge. 28 U.S.C. § 636(b)(1); Fed. R. Crim. P.

59(b)(3). The district court is required to conduct a de novo review of those portions of

a magistrate judge's recommendation to which objection is made. 28 U.S.C.

§ 636(b)(1); Fed. R. Crim. P. 59(b)(3). But the statute does not require the district court

to review the recommendation of a magistrate judge to which no objections are

addressed. See Thomas v. Arn, 474 U.S. 140, 149-50 (1985). Moreover, the failure to

make a timely objection to a report and recommendation “waives a party’s right to

review.” Fed. R. Crim. P. 59(b)(2); see also United States v. Ballares, 317 F. App’x 36,

37-38 (2d Cir. 2008) (district court was entitled to rely on Fed. R. Civ. P. 59, which

“explicitly extend[ed] the waiver rule to criminal cases”).

       Nevertheless, “the district judge retains the authority to review any magistrate

judge’s decision or recommendation whether or not objections are timely filed.”

Advisory Committee Notes to Fed. R. Crim. P. 59 (2005 Adoption). Accordingly, this

Court has carefully reviewed Magistrate Judge Schroeder’s Report, Recommendation

and Order as well as the submissions by the parties to Magistrate Judge Schroeder.
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Based on that review and in the absence of any timely objections, this Court accepts

and adopts the magistrate judge’s recommendation in its entirety. For the reasons

stated in the Report, Recommendation and Order (Docket Item 66), the defendant’s

motion to suppress the use of evidence seized from him and statements attributed to

him is, in all respects, denied.

       IT IS SO ORDERED.

       Dated: December 22, 2015
              Buffalo, New York

                                                    s/ Lawrence J. Vilardo
                                                   LAWRENCE J. VILARDO
                                               UNITED STATES DISTRICT JUDGE
